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                         IN THE UNITED STATES BANKRUPTCY
                       COURT NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

IN RE:                                        )              CHAPTER 7
                                              )
CHARLES ANTONIO CROFF,                        )
                                              )              CASE NO. 18-69002 JWC
MOVANT.                                       )
                                              )
V.                                            )
                                              )
WELLS FARGO BANK, N.A.,                       )
                                              )
RESPONDENT.                                   )

                     MOTION TO INCUR NEW DEBT BY MODIFYING
                                   MORTGAGE

         COMES NOW, THE DEBTOR, Charles Antonio Croff by and through the undersigned
Counsel, and moves this Honorable Court for an order allowing him to modify the terms of his
mortgage on his real property. As grounds for this motion, the Debtor respectfully shows the
Court the following:
                                                  1.

         This is a Motion to Incur New Debt By Modifying Mortgage (or, in the alternative a
Motion to Approve Loan Modification Agreement) to which the parties have agreed on or about
September 8, 2021.
                                                  2.

         The Debtor filed a Voluntary Petition for relief under Chapter 13 on November 9, 2018.
The Chapter 13 Plan was confirmed on April 30, 2019. The Debtor’s instant case was later
converted to a Chapter 7 on April 7, 2020.
                                                  3.
         Debtor’s residence is located at 4845 Price Street, Forest Park, GA 30297. At the time
of Debtor’s filing of the instant case, Wells Fargo Bank, N.A. (hereinafter, “Respondent”),
held the first mortgage on the above-stated real property in the amount of $129,932.69 with an
annual fixed interest rate of 3.25% and monthly payment of $1,000.88. Secured proof of
claim 6-1 was filed on January 8, 2019 in the amount of $129,932.69 with an arrearage
amount that was funded via Debtor’s Chapter 13 Plan in the amount of $2,917.53, pre-
conversion of Debtor’s instant case. Lastly, at the time of filing, the Maturity Date of the Loan
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was January 1, 2041. At the time of filing, Debtor also had a second (subordinate lien on the
real property) with the U.S. Department of Housing and Urban Development (hereinafter
“HUD”) in the amount of $6,057.72 and proof of claim 12-1 was filed in the amount of
$6,057.72 on April 30, 2019.
                                                   4.
       Respondent has agreed to modify the terms of the Debtor’s first mortgage on or about
September 8, 2021, with a Partial Claims Loan Modification. Pursuant to such agreement, a
Subordinate Mortgage (“Security Instrument”) is given to the Secretary of Housing and Urban
Development (“HUD”). The proposed loan modification is a permanent one, not a trial
modification. In the agreement, Debtor shall owe Respondent the amount of $5,058.85, which
is evidenced by the borrower’s note dated the same date as the Security Instrument (the
“Note”. Further, according to the Security Instrument, the full debt is due on April 1, 2043 if
not paid earlier (See Exhibit “A” attached hereto).

                                                  5.
       The Debtor believes that the loan modification and repayment will be feasible and will
   not prevent the Debtor from meeting his obligations under the Bankruptcy.
                                                   6.
       The Debtor believes that attaining this partial claims mortgage loan modification is in the
   best interest of the estate and his creditors, and that it will assist in the effectuation of the
   Debtor’s financial reorganization.


   WHEREFORE, the Debtor prays:
       (a) that the Court will consider this motion;
       (b) grant the Debtor permission to modify the terms of the mortgage on this real
       property; and
       (c ) for all other relief that is just and appropriate.



Date: October 7, 2021                                    Respectfully submitted,

                                                         /s/ Shannon C. Worthy
                                                         Shannon C. Worthy
                                                         Attorney for Debtor(s)
                                                         GA Bar No. 733895
                                                         Stanton and Worthy, LLC
                                                         547 Ponce de Leon Avenue NE
                                                         Suite 150
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                                            Atlanta, GA 30308
                                            Shannon.worthy@stantonandworthy.com
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                    EXHIBIT A
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                      IN THE UNITED STATES BANKRUPTCY
                    COURT NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

IN RE:                                     )               CHAPTER 7
                                           )
CHARLES ANTONIO CROFF,                      )
                                            )              CASE NO. 18-69002 JWC
MOVANT.                                     )
                                            )
V.                                          )
                                            )
WELLS FARGO BANK, N.A.,                     )
                                            )
RESPONDENT.                                 )


                                  NOTICE OF HEARING

       PLEASE TAKE NOTICE that the Debtor has filed a Motion to Incur New Debt by
Modifying Mortgage and related papers with the Court seeking an order permitting Debtor to
modify the terms of a mortgage on real property located at 4845 Price Street, Forest Park, GA
30297.

       PLEASE TAKE FURTHER NOTICE that the Court will hold an initial
telephonic hearing for announcements on the Motion to Incur New Debt by Modifying
Mortgage at the following number: toll-free number:833-568-8864 meeting id 160 459
5648 at 11:00 AM on November 18, 2021 in Courtroom 1203 United States Courthouse,
75 Ted Turner Drive, SW, Atlanta, Georgia 30303.

        Matters that need to be heard further by the Court may be heard by telephone, by
video conference, or in person, either on the date set forth above or on some other day, all
as determined by the Court in connection with this initial telephonic hearing. Please
review the “Hearing Information” tab on the judge’s webpage, which can be found under
the “Dial-in and Virtual Bankruptcy Hearing Information” link at the top of the webpage
for this Court, www.ganb.uscourts.gov for more information.

       Your rights may be affected by the court’s ruling on these pleadings. You should
read these pleadings carefully and discuss them with your attorney, if you have one in
this bankruptcy case. (If you do not have an attorney, you may wish to consult one.) If
you do not want the court to grant the relief sought in these pleadings or if you want the
court to consider your views, then you and/or your attorney must attend the hearing. You
may also file a written response to the pleading with the Clerk at the address stated
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below, but you are not required to do so. If you file a written response, you must attach a
certificate stating when, how and on whom (including addresses) you served the
response. Mail or deliver your response so that it is received by the Clerk at least two
business days before the hearing. The address of the Clerk's Office is Clerk, U. S.
Bankruptcy Court, Suite 1340, 75 Ted Turner Drive, Atlanta Georgia 30303. You must
also mail a copy of your response to the undersigned at the address stated below.


Dated: October 7, 2021                            Respectfully submitted,

                                                  /s/ Shannon C. Worthy
                                                  Shannon C. Worthy
                                                  Attorney for Debtor(s)
                                                  GA Bar No. 733895
                                                  Stanton and Worthy, LLC
                                                  547 Ponce de Leon Ave NE
                                                  Suite 150
                                                  Atlanta, GA 30308
                                                  Shannon.worthy@stantonandworthy.com
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                       IN THE UNITED STATES BANKRUPTCY
                     COURT NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

IN RE:                                      )              CHAPTER 7
                                            )
CHARLES ANTONIO CROFF,                       )
                                             )             CASE NO. 18-69002 JWC
MOVANT.                                      )
                                             )
V.                                           )
                                             )
WELLS FARGO BANK, N.A.,                      )
                                             )
RESPONDENT.                                  )

                            CERTIFICATE OF SERVICE

       I hereby certify that I am more than 18 years of age and that I have this day served a
copy of the within Motion to Incur New Debt by Modifying Mortgage upon the following by
depositing a copy of the same in U.S. Mail with sufficient postage affixed thereon to ensure
delivery and/or Electronic Mail to the parties listed below
Charles Antonio Croff (via electronic delivery)
4845 Price Street
Forest Park, GA 30297

Wells Fargo Bank, N.A.
Default Document Processing
N9286-01Y
1000 Blue Gentian Road
Eagan, MN 55121 (via ECF)

Bryce Noel
Attorney for Wells Fargo
Aldridge Pite, LLP
Fifteen Piedmont Center
3375 Piedmont Road, N.E., Suite 500
Atlanta, GA 30305 (via ECF)

Wells Fargo Bank, N.A.
Corporation Service Company, Registered Agent
2 Sun Court, Suite 400
Peachtree Corners, GA 30092(via ECF)

Wells Fargo Bank, N.A.
Charles W. Scharf, CEO
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301 S. Tryon Street
Charlotte, NC 28282 (via ECF)

U.S. Department of Housing and Urban Development
451 7th Street S.W.
Washington, DC 20410 (via ECF)

U.S. Department of Housing and Urban Development
Marcia Fudge, Secretary
451 7th Street S.W.
Washington, DC 20410 (via ECF)

U.S. Department of Housing and Urban Development
Bankruptcy Specialist
2401 N.W. 23rd Street, Suite 1A1
Oklahoma, OK 73107 (via ECF)

U.S. Department of Housing and Urban Development
U.S. Attorney General
Main Justice Building
10th & Constitution Ave.
Washington, DC 20530 (via ECF)

U.S. Department of Housing and Urban Development
United States Attorney
Northern District of Georgia Civil Division
75 Spring Street Drive SW #600
Atlanta, GA 30303 (via ECF)

See attached Creditors Matrix.

       I further certify that, by agreement of parties S. Gregory Hays, Chapter 7 Trustee, was
 served via the ECF electronic mail/noticing system.

 Dated: October 7, 2021                              Respectfully submitted,

                                                     /s/ Shannon C. Worthy
                                                     Shannon C. Worthy
                                                     Attorney for Debtor(s)
                                                     GA Bar No. 733895
                                                     Stanton and Worthy, LLC
                                                     547 Ponce de Leon Avenue
                                                     NE Suite 150
                                                     Atlanta, GA 30308
                                                     Shannon.worthy@stantonandworthy.com
         Case 18-69002-jwc                 Doc 87     Filed 10/07/21 Entered 10/07/21 14:15:37              Desc Main
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Label Matrix for local noticing                     Acceptance Now                        Ally Financial
113E-1                                              5501 Headquarters Dr                  200 Renaissance Ctr
Case 18-69002-jwc                                   Plano, TX 75024-5837                  Detroit, MI 48243-1300
Northern District of Georgia
Atlanta
Thu Oct 7 13:50:47 EDT 2021
Ally Financial                                      Arnall Golden Gregory LLP             (p)RESURGENT CAPITAL SERVICES
PO Box 130424                                       171 17th Street, N.W.                 PO BOX 2568
Roseville, MN 55113-0004                            Suite 2100                            GREENVILLE SC 29602-2568
                                                    Atlanta, GA 30363-1031


Badcock                                             John V. Ball                          Michael J. Bargar
7965 Tara Blvd Ste 330C                             Humphries & King Realty               Arnall Golden Gregory, LLP
Jonesboro, GA 30236-2243                            Suite 510-205                         Suite 2100
                                                    830 Glenwood Avenue                   171 17th Street, N.W.
                                                    Atlanta, GA 30316-1966                Atlanta, GA 30363-1031

(p)SOUTHERN MANAGEMENT                              Capital One                           Capital One Bank (USA), N.A.
PO BOX 1947                                         Po Box 30281                          PO Box 71083
GREENVILLE SC 29602-1947                            Salt Lake City, UT 84130-0281         Charlotte, NC 28272-1083



Carfinance.com                                      Cb/pier1                              Citi Auto
7525 Irvine Center Dr St                            Po Box 182789                         2208 Highway 121 Ste 100
Irvine, CA 92618-3066                               Columbus, OH 43218-2789               Bedford, TX 76021-5981



Comenity Bank/pier 1                                Comenitybank/victoria                 Comenitycb/forever21
Po Box 182789                                       Po Box 182789                         Po Box 182120
Columbus, OH 43218-2789                             Columbus, OH 43218-2789               Columbus, OH 43218-2120



Comenitycb/hsn                                      Convergent Outsourcing                Charles Antonio Croff
Po Box 182120                                       Po Box 9004                           4845 Price Street
Columbus, OH 43218-2120                             Renton, WA 98057-9004                 Forest Park, GA 30297-1959



Crown River Homeowners Association, Inc.            Emory Healthcare                      (p)GEORGIA DEPARTMENT OF REVENUE
c/o Dunlap Gardiner LLP                             po Box 102398                         COMPLIANCE DIVISION
5604 Wendy Bagwell Pkwy Ste 923                     Atlanta, GA 30368-2398                ARCS BANKRUPTCY
Hiram, GA 30141-7819                                                                      1800 CENTURY BLVD NE SUITE 9100
                                                                                          ATLANTA GA 30345-3202

(p)SENTRY MANAGEMENT INC                            S. Gregory Hays                       I C System
PO BOX 1677                                         Hays Financial Consulting, LLC        Po Box 64378
STOCKBRIDGE GA 30281-8677                           Suite 555                             Saint Paul, MN 55164-0378
                                                    2964 Peachtree Road
                                                    Atlanta, GA 30305-4909

Internal Revenue Service                            Brian K. Jordan                       Kay Jewelers/genesis
P O Box 7346                                        Aldridge Pite, LLP                    15220 Nw Greenbrier, Ste
Philadelphia, PA 19101-7346                         Suite 500 - Fifteen Piedmont Center   Beaverton, OR 97006-5744
                                                    3575 Piedmont Road, NE
                                                    Atlanta, GA 30305-1636
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Paul R. Knighten                                     Vanessa A. Leo                                       Bryce R. Noel
Knighten Law Firm                                    Shapiro Pendergast & Hasty, LLP                      Aldridge Pite, LLP
Suite D-295                                          211 Perimeter Center Parkway NE                      3575 Piedmont Road, NE, Suite 500
2221 Peachtree Road NE                               Suite 300                                            Fifteen Piedmont Center
Atlanta, GA 30309-1148                               Atlanta, GA 30346-1305                               Atlanta, GA 30305-1527

Office of the United States Trustee                  SOUTHWEST AIRLINES FCU                               Southwest Airlines Efc
362 Richard Russell Building                         PO BOX 35708                                         Po Box 35708
75 Ted Turner Drive, SW                              DALLAS, TX 75235-0708                                Dallas, TX 75235-0708
Atlanta, GA 30303-3315


Shawna Staton                                        Syncb/mc                                             Timepayment Corp
Office of the United States Trustee                  Po Box 965005                                        1600 District Ave Ste 20
362 Richard Russell Building                         Orlando, FL 32896-5005                               Burlington, MA 01803-5233
75 Ted Turner Drive, SW
Atlanta, GA 30303-3315

(p)US DEPARTMENT OF HOUSING AND URBAN DEVELOP        United States Attorney                               W.S. Badcock Corporation
ATTN ROBERT ZAYAC                                    Northern District of Georgia                         P.O. Box 724
40 MARIETTA ST SUITE 300                             75 Ted Turner Drive SW, Suite 600                    Mulberry, FL 33860-0724
ATLANTA GA 30303-2812                                Atlanta GA 30303-3309


Webbank/fingerhut                                    (p)WELLS FARGO                                       Wells Fargo Bank, N.A.
6250 Ridgewood Road                                  P O BOX 9210                                         Default Document Processing
Saint Cloud, MN 56303-0820                           DES MOINES IA 50306-9210                             N9286-01Y
                                                                                                          1000 Blue Gentian Road
                                                                                                          Eagan, MN 55121-1663

Wells Fargo Hm Mortgag                               Western Shamrock Corporation dba Western Fin         Nancy J. Whaley
Po Box 10335                                         Bankruptcy Department                                Nancy J. Whaley, Standing Ch. 13 Trustee
Des Moines, IA 50306-0335                            84 Villa Rd, Ste 303                                 303 Peachtree Center Avenue
                                                     Greenville, SC 29615-3013                            Suite 120, Suntrust Garden Plaza
                                                                                                          Atlanta, GA 30303-1216

World Finance Corp. c/o World Acceptance Cor         World Finance Corporat                               Shannon Charlmane Worthy
Attn: Bankruptcy Processing Center                   2640b Metropolitan Pkwy                              Stanton and Worthy, LLC
PO Box 6429                                          Atlanta, GA 30315-7921                               547 Ponce De Leon Avenue NE
Greenville, SC 29606-6429                                                                                 Suite 150
                                                                                                          Atlanta, GA 30308-1881

Wstshmrk                                             (p)ZEBIT INC
801 S Abe                                            ATTN ATTN - KERISSA HOLLIS
San Angelo, TX 76903-6735                            9530 TOWNE CENTRE DRIVE
                                                     SUITE 200
                                                     SAN DIEGO CA 92121-1981



                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Atlanta Medical Center                               COVINGTON CREDIT GA0012                              (d)Covington Credit/smc
303 Parkway Drive NE                                 C/O SOUTHERN MANAGEMENT                              150 Executive Center Drive
Atlanta, GA 30312                                    ATTN: BK                                             Greenville, SC 29615
                                                     PO BOX 1947
                                                     GREENVILLE, SC 29602
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Georgia Department Of Revenue                        Grace Management Services LLC                        (d)Sentry Management
1800 Century Blvd. NE                                325 Country Club Dr,                                 303 Corproate Center Drive Suite 300A
Atlanta, GA 30345                                    Stockbridge, GA 30281                                Stockbridge, GA 30281



U.S. Department of Housing and Urban Develop         Wells Fargo                                          Zebit
451 7th Street S.W.                                  P O Box 10438                                        9530 Towne Centre Drive, Suite
Washington, DC 20410                                 Des Moines, IA 50306-0438                            Suite 200
                                                                                                          San Diego, CA 92121




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Ally Financial Inc.                               (u)W.S. Badcock Corp.                                (u)WELLS FARGO BANK, N.A.




End of Label Matrix
Mailable recipients      52
Bypassed recipients       3
Total                    55
